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                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF WISCONSIN


JEREMY GUSLOFF,

               Plaintiff,

       v.                                                      Case No. 21-cv-662

QUINCY BIOSCIENCE HOLDING COMPANY, INC.

               Defendant.


                        STIPULATION TO EXTEND ANSWER DEADLINE


       IT IS HEREBY STIPULATED by and between the parties to the above-entitled action,

through their respective attorneys, that:

       The deadline by which Defendant Quincy Bioscience Holding Company, Inc. must file an

answer and/or responsive pleading to the Complaint is extended through December 10, 2021.

       Dated this 9th day of November, 2021

HAWKS QUINDEL, S.C.                               LINDNER & MARSACK, S.C.
Attorneys for Plaintiff                           Attorneys for Defendant

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